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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NEW YORK

_____________________________________________

UNITED STATES OF AMERICA,

                                                               DECISION AND ORDER
vs.                                                            06-CR-6229 CJS

DAVID ANDERSON,

                Defendant.
______________________________________________



                                     INTRODUCTION

       The matter is before the Court on the defendant’s motion to suppress physical

evidence taken from him on January 13, 2005, and statements purportedly made by

him on December 22, 2005, and, as well as to suppress his identification by seven

potential Government witnesses. With respect to the application to suppress statements

and physical evidence, a hearing was held on July 28, 2008, and August 28, 2008, at

which three witnesses, Officer Jennifer Morales, Officer Lazio Tordai, and Sergeant

Robert Mattick, testified. With respect to the application to suppress identification

testimony, both the Government and the defendant agreed that the completion of the

hearing should await disclosure of the names of the identification witnesses, which will

occur no later than three weeks before any scheduled trial date. In that regard, if the

witnesses and the defendant were in fact well known to each other, as the Government

maintains, the need for any hearing would be obviated. As to the motion to suppress

statements and physical evidence, the Court has now had a chance to consider both

the testimony of the witnesses and the exhibits received into evidence. For the reasons
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discussed below, the defendant’s application to suppress is denied in part and granted

in part.

                                   FINDINGS OF FACT



       Lazio Tordai (“Tordai”) is a police officer with the City of Rochester Police

Department and has been so employed for approximately six and a half years. On

January 13, 2005, at about 4:35 p.m., when assigned to the Patrol Division East, he

had occasion to be in the vicinity of 39 Meade Street in the city of Rochester. He was in

a patrol vehicle and had been dispatched to that location by the 911 Center in regards

to vice activity. Tordai knew that Meade Street was a hot area for open air drug sales.

Upon arriving, Tordai observed two males inside a vehicle in front of 39 Meade Street.

The vehicle was a gold 1993 Oldsmobile bearing New York license plate number UDDA

5585. Tordai immediately approached the Oldsmobile in an attempt to identify the

occupants. That is, he did not observe the Oldsmobile and its occupants for any length

of time before he approached the vehicle. He may have parked his patrol vehicle

behind the Oldsmobile, but did not in any way block the Oldsmobile with his patrol car.

Tordai considered what he was doing a traffic stop and conducted himself accordingly.

He approached the driver’s side on foot, and did not have his service weapon drawn.

Tordai introduced himself, asked for a driver’s license and asked for an explanation why

the occupants were at that location. He also obtained some pedigree information, and

requested identification from both occupants. After obtaining the identification, he

returned to his patrol car to call in what is referred to as a “29“ to see if either occupant

of the vehicle had any warrants outstanding. Tordai learned that the defendant, who

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was one of the occupants of the vehicle had an outstanding warrant for False

Impersonation. After learning this information, Tordai, assisted by another police officer,

who arrived at the scene, had the defendant and the second occupant of the vehicle, a

male with the last name of Briggs, step out of the vehicle. Tordai handcuffed the

defendant, searched him, and placed him in the rear seat of his patrol car. During the

course of his search of the defendant’s person, Tordai found a walkie-talkie and a

package containing numerous empty glassine baggies, which, in Tordai’s experience

were used to package drugs. Subsequently, Tordai issued the defendant an

appearance ticket, and released him from custody.

       Jennifer Morales (“Morales”) is a police officer with the City of Rochester Police

Department and has been so employed since October of 1993. Since 1999, she has

been assigned to the Special Investigations Section (“SIS”). On December 22, 2005,

pursuant to her duties with the Rochester Police Department, she participated in the

execution of a search warrant for the residence at 803 Maple Street in the city of

Rochester. After entering 803 Maple Street, Morales located the defendant and his

girlfriend, Tanisha Henry (“Henry”), and Henry’s two children in bed in the rear bedroom

on the first floor. Both the defendant and Henry were undressed. Morales handcuffed

the defendant, after which he asked her if he could put on the jeans that were right next

to the bed. Neither Morales or any other police officer said anything to the defendant

prior to him asking for permission to put on the jeans. However, before the defendant

was allowed to put on the jeans, Officer Myron Moses (“Moses”), who was with Morales,

searched them and found $645 in the right rear pants’ pocket and a clear plastic bag

containing marijuana in the right front pants’ pocket. Moses requested Morales to

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photograph the items, which, she did, after the money and marijuana were laid on top

of the jeans. The defendant then asked, in sum and substance, if he could have his

jeans, and was, at that point, permitted to put them on.

       Subsequently, Morales, in searching the premises, found two sets of keys on

key chains on the kitchen table, and she tried the keys in the doors at 803 Maple Street.

One key chain had several house keys and the other key chain had only two keys, one

of which opened and unlocked the side door to 803 Maple Street. At the time Morales

seized the the keys, the defendant was restrained and seated in the dinning room,

which was right off the kitchen, and was in a position to observe Morales. As Morales

placed the keys into an evidence bag, the defendant asked, “What are you doing with

my keys?” Neither Morales or any other officer said anything to him before he asked

this question. Also found during the course of the search of 308 Maple Street in the

kitchen, in plain view on the kitchen table, was a twenty-five gallon-size clear plastic

bag which contained 24 smaller clear bags each containing marijuana

       Parole Officer Ronan (“Ronan”), who was part of the search team, entered the

dining room of 803 Maple Street during the time the defendant was seated and

restrained in that area. Morales was present in the dining room prior to Ronan entering.

Ronan was the defendant’s parole officer. When Ronan entered the dining room, the

defendant looked up at him and said, “Oh, you're the one that fucked up the whole

investigation for them.” The defendant then looked at Morales as well as other police

officers present and said, “I know what kind of car you drive, I know what kind of car

you drive, and I know what kind of car you drive.” Neither Ronan nor anyone else said

anything to the defendant before he made these comments. However, after the

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defendant made these comments, Morales asked the defendant to be seated, to be

respectful, and to stop talking like that. The defendant, though, continued saying that

Ronan “screwed up” the investigation. Within the month previous to the execution of

the search warrant at 308 Maple Street, Morales, Ronan, as well as other officers, had

conducted surveillance on the defendant and his family. On that occasion, the

defendant pulled up right next to Ronan, who was in an unmarked vehicle, requested

that he roll down his window, and then asked. “Officer, can you tell me what time is it?”

       Later, while the defendant was still in the dining room, Morales, who was then

either in the dining room or kitchen, asked Trooper Bernard, who was also part of the

search team, if he could transport Henry to the Public Safety Building. At that point,

the defendant stated that all of the weed was his and that it wasn't hers. Immediately

prior to the defendant stating this, no one had said anything to him.

       Subsequently, the defendant was transported from 803 Maple Street to the

Public Safety Building. Upon arriving at the Public Safety Building, the defendant was

taken to the third floor.

       Robert Mattick (“Mattick”) is a sergeant with the Rochester Police Department.

On December 22, 2005, he participated in the execution of the search warrant at 308

Maple Street, after which he went to the Public Safety Building. After arriving at the

Public Safety Building, Mattick became aware that the defendant was in the third floor

holding area, that he was very agitated and upset, that he was being abusive to officers,

and that he was making statements to other suspects who were being brought into the

building. Mattick, who was on the third floor in proximity to the defendant, heard the

defendant, who was handcuffed, telling other suspects, in sum and substance, “Don’t

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talk to the police, they don’t give a shit.” The defendant also said that he wouldn’t

cooperate, although he was asked to do so both at 308 Maple Street and at the Public

Safety Building. Mattick went over to the defendant and asked him to calm down

several times. Mattick told the defendant words to the effect, “Relax, you’ve got to get

through this, relax, cooperate with us, we’ll get this squared away, work on this down

the road.” Despite this, the defendant continued to tell other suspects in the area not to

talk to the police. As a result of this conduct on the part of the defendant, Mattick

decided to move the defendant to the fourth floor. He was assisted by Lieutenant Clark

(“Clark”) and Officer Cole (“Cole”). The defendant was taken by elevator to the fourth

floor. While on the elevator, the defendant threw his coat on the floor after asking for it,

and said, “Go ahead and lock me up and I’ll do my twenty years, you put my father in

prison for twenty years, I’m not afraid of prison.” Before the defendant made these

comments, either Clark or Cole may have told the defendant that he was looking at

twenty years, although Mattick doesn’t recall either of them saying this.

       When the elevator arrived at the fourth floor, the defendant was taken into a

locked holding facility that contained several interview rooms. At that point, Morales,

who had been taking a statement from Henry in one of the interview rooms on the

fourth floor, opened the door to the room slightly and stepped outside when she heard

loud voices. Upon doing so, she observed the defendant, who was handcuffed and in

the custody of Cole and Mattick, walking by. At that time, the defendant looked toward

Morales and towards the inside of the interview room, and said, ”Yo T don't tell them

shit; don't tell them nigger shit; I'll kill you if you tell them shit; don't tell them shit T.”

While at 308 Maple Street, Morales had heard the defendant refer to Henry as “T.”

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When the defendant made these statements, Mattick was able to see Henry inside the

interview room. The defendant’s statements were not in response to any comment by

any police officer, and Mattick had no idea that the defendant would come into contact

with Henry on the fourth floor. After the defendant made the statements, Mattick had

him returned to the third floor.

                                   CONCLUSIONS OF LAW

A.     January 13, 2005

       With respect to the events of January 13, 2005, the defendant

       submits that the evidence (what there is of it) shows that the occupants of
       the vehicle were “seized” without reasonable suspicion to believe that they
       were engaged in wrongdoing, pursuant to Terry v. Ohio, 392 U.S. 1
       (1968). The Defendant further submits that the circumstances of the
       encounter, the conversation and taking of the identifications back to the
       patrol vehicl, would lead a reasonable person to believe he was not free to
       leave. See Flordia v. Bostick, 501 U.S. 429, 436-37 (1991).

       Based upon the above, Officer Tordai did not have reasonable cause to seize
       the Defendant and search his person and the vehicle. Therefore, the evidence
       must be suppressed.

Defendant’s Letter Memorandum (September 19, 2008).

       As to the defendant’s argument, it is, of course, well settled that

       [a]n individual operating or traveling in an automobile does not lose all
       reasonable expectation of privacy simply because the automobile and its
       use are subject to government regulation. Automobile travel is a basic,
       pervasive, and often necessary mode of transportation to and from one's
       home, workplace, and leisure activities. Many people spend more hours
       each day traveling in cars than walking on the streets. Undoubtedly, many
       find a greater sense of security and privacy in traveling in an automobile
       than they do in exposing themselves by pedestrian or other modes of
       travel. Were the individual subject to unfettered governmental intrusion
       every time he entered an automobile, the security guaranteed by the
       Fourth Amendment would be seriously circumscribed. As Terry v. Ohio,
       supra, recognized, people are not shorn of all Fourth Amendment


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      protection when they step from their homes onto the public sidewalks. Nor
      are they shorn of those interests when they step from the sidewalks into
      their automobiles. See Adams v. Williams, 407 U.S. 143, 146, 92 S.Ct.
      1921, 1923, 32 L.Ed.2d 612 (1972).

      Accordingly, we hold that except in those situations in which there is at
      least articulable and reasonable suspicion that a motorist is unlicensed or
      that an automobile is not registered, or that either the vehicle or an
      occupant is otherwise subject to seizure for violation of law, stopping an
      automobile and detaining the driver in order to check his driver's license
      and the registration of the automobile are unreasonable under the Fourth
      Amendment.

Delaware v. Prouse, 440 U.S. 648, 663 (1979)(footnote omitted). Moreover,

      In determining whether the facts available to law enforcement officers at
      the time of a stop support a reasonable suspicion, two basic principles
      must be kept in mind. First, the circumstances surrounding the stop must
      be viewed as a whole, not as discrete and separate facts. United States v.
      Vasquez, 612 F.2d 1338, 1343 (2d Cir. 1979); United States v. Price, 599
      F.2d 494, 501 (2d Cir. 1979). Second, these circumstances “are to be
      viewed through the eyes of a reasonable and cautious police officer on
      the scene guided by his experience and training.” United States v. Price,
      supra, at 501, quoting, inter alia, United States v. Oates, 560 F.2d 45, 61
      (2d Cir. 1977); United States v. Magda, 547 F.2d 756, 758 (2d Cir. 1976),
      cert. denied, 434 U.S. 878, 98 S.Ct. 230, 54 L.Ed.2d 157 (1977).

United States v. Delos-Rios, 642 F.2d 42,45 (2d Cir. 1981). Finally,

      Whenever an anonymous tip first alerts police to possible wrongdoing, the
      question to be answered is whether the “tip, suitably corroborated, exhibits
      ‘sufficient indicia of reliability to provide reasonable suspicion to make the
      investigatory stop. ” Florida v. J.L., 529 U.S. 266, 270, 120 S.Ct. 1375,
      146 L.Ed.2d 254 (2000) (internal citation omitted).

United States v. Muhammad, 463 F.3d 115, 121 (2d Cir. 2006).

      Applying these principles of law to its Findings of Fact, the Court concludes that

the defendant’s application to suppress must be granted. Tordai arrived in the area of

39 Meade Street based on what, as far as the evidence presented, was an anonymous

and unsubstantiated report of vice activity. Upon arriving at 39 Meade Street at about


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4:35 p.m., he did not observe the Oldsmobile occupied by the defendant and Briggs for

any period of time, but rather approached it immediately, demanded license and

identification, and took the documents with him back to his patrol car once they were

provided. The Court finds that no reasonable person, in the defendant’s position,

would have thought that he was free to leave at that point. United States v.

Mendenhall, 446 U.S. 544, 554 (1980). Moreover, the Court finds that, although Tordai

knew Meade Street to be an area in which open air drug sales occurred, the totality of

circumstances did not provide him reasonable suspicion to effect what he himself

considered as a traffic stop, nor to direct that the defendant and Briggs provide him with

license and identification.

B.     December 22, 2005

       The Government maintains that the statements of the defendant which it seeks

to introduce at trial are admissible as spontaneous statements. The defendant, on the

other hand, argues that such statements were acquired in violation of his Fifth

Amendment rights as guaranteed by Miranda v. Arizona, 384 U.S. 436 (1966). In this

regard, the defendant’s

       Fifth Amendment claim turns on whether his incriminating statement was
       volunteered or the product of interrogation.

                                    *        *         *
       The fundamental import of the privilege while an individual is in custody is
       not whether he is allowed to talk to the police without the benefit of
       warnings and counsel, but whether he can be interrogated.... Volunteered
       statements of any kind are not barred by the Fifth Amendment ....
       Id. at 478, 86 S.Ct. at 1630; see also United States v. Carpenter, 611 F.2d
       113, 117 (5th Cir.), cert. denied, 447 U.S. 922, 100 S.Ct. 3013, 65
       L.Ed.2d 1114 (1980) (spontaneous, unprovoked incriminating statement is
       admissible).


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      The standard for determining whether a statement is the product of
      interrogation is outlined in Rhode Island v. Innis, 446 U.S. 291, 300-01,
      100 S.Ct. 1682, 1689-90, 64 L.Ed.2d 297 (1980) (footnotes omitted):
      [“]We conclude that the Miranda safeguards come into play whenever a
      person in custody is subjected to either express questioning or its
      functional equivalent. This is to say, the term “interrogation” under
      Miranda refers not only to express questioning, but also to any words or
      actions on the part of the police (other than those normally attendant to
      arrest and custody) that the police should know are reasonably likely to
      elicit an incriminating response from the suspect.[“]

United States v. Guido, 704 F. 2d 675, 676-77, (2d Cir. 1983). The defendant’s

statements at issue are as follows:

      While in the bedroom, in which he was arrested, the defendant asked
      Morales on two occasions if he could put on the jeans that were next to
      the bed, in which the $645.00 in U.S. currency and plastic bag containing
      marijuana were found.

      While restrained in the dining room, the defendant asked Morales, “What
      are you doing with my keys?”

      While restrained in the dining room, the defendant stated to Ronan “Oh,
      you're the one that fucked up the whole investigation for them,” and then
      he looked at Morales as well as other police officers present and said, “I
      know what kind of car you drive, I know what kind of car you drive, and I
      know what kind of car you drive.” Although Morales asked the defendant
      to be seated and be respectful, and told him to stop talking like that, he
      continued saying that Ronan “screwed up” the investigation.

      While still in the dining room, the defendant stated that all of the weed
      was his and it wasn’t hers, when Morales asked Trooper Bernard to
      transport Henry to the Public Safety Building.

      While on the fourth floor of the Public Safety Building and in view of Henry
      who was being interviewed by Morales, the defendant said, “Yo T don't tell
      them shit don't; tell them nigger shit; I'll kill you if you tell them shit; don't
      tell them shit T.”



      Based upon its Findings of Fact, the Court concludes by a preponderance of

evidence that none of these statements on the part of the defendant was made in

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response to any questioning, or its functional equivalent on the part of any police

officer. In regard specifically to the statements attributed to the defendant at the Public

Safety Building, the Court concludes that Mattick did not bring the defendant to the

fourth floor for the purpose of an encounter with Henry, but rather because the

defendant was being disruptive on the third floor.


                                      CONCLUSION

       Accordingly, the defendant’s motion to suppress (Docket # 248) is granted in part

as to physical evidence seized from him on January 13, 2005, and denied in part, as to

statements allegedly made by the defendant on December 22, 2005.

It is So Ordered.

DATED:        Rochester, New York
              January 6, 2009

                                          ENTER.


                                          /s/ Charles J. Siragusa
                                          CHARLES J. SIRAGUSA
                                          United States District Judge




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